                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

LOUISIANA-PACIFIC CORPORATION,           )
                                         )
      Plaintiff/Counter-Defendant,       )
                                         )
v.                                       ) CIVIL ACTION NO. 3:18-cv-00447
                                         )
JAMES HARDIE BUILDING                    ) DISTRICT JUDGE McCALLA
PRODUCTS INC.,                           )
                                         ) MAGISTRATE JUDGE HOLMES
      Defendant/Counter-Plaintiff/Third- )
      Party Plaintiff,                   ) JURY DEMAND
                                         )
v.                                       )
                                         )
THE KRUSE BROTHERS, INC.,                )
                                         )
      Third-Party Defendant.             )
______________________________________________________________________________

               SECOND AMENDED CASE MANAGEMENT ORDER
______________________________________________________________________________

       This Cause came before the Court upon joint motion of the parties to amend the

Amended Case Management Order. The parties seek additional time to complete fact discovery

and expert disclosures and discovery.

       Having shown good cause, the Court hereby amends the Amended Case Management

Order and sets the following deadlines are established for the case:

       INITIAL DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(1): October 15,
       2018

       MOTIONS TO JOIN PARTIES: November 1, 2018

       MOTIONS TO AMEND PLEADINGS: November 1, 2018

       COMPLETION OF WRITTEN DISCOVERY (served to obtain response by):
       February 15, 2019

       COMPLETION OF FACT DEPOSITIONS: April 1, 2019


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       EXPERT WITNESS DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(2):

           (a) DISCLOSURE OF PARTY WITH BURDEN OF PROOF RULE 26(a)(2)
       EXPERT INFORMATION: April 1, 2019

            (b) DISCLOSURE OF OPPOSING PARTY RULE 26(a)(2) EXPERT
       INFORMATION: May 1, 2019

               (c) EXPERT WITNESS DEPOSITIONS COMPLETION: May 15, 2019

       MOTIONS TO EXCLUDE EXPERTS UNDER F.R.E. 702/DAUBERT MOTIONS:
       June 1, 2019

       FILING DISPOSITIVE MOTIONS: May 1, 2019

TRIAL:

1. The jury trial in this matter, which is anticipated to last 10 days, is set to begin on August 5,
2019 at 9:30 a.m. in a courtroom to be designated.

2. A telephonic pretrial conference is set for July 26, 2019 at 10 a.m. Counsel for the Plaintiff
shall initiate the conference call prior to dialing Judge McCalla’s chambers at 901-495-1291.

3. The joint proposed pretrial order, proposed verdict form, proposed jury instructions,
proposed voir dire questions, and motions in limine are due by no later than 4:30 p.m. on July
9, 2019.

Discovery Plan. The parties have conferred and entered in to an electronic discovery protocol in
this case. The Court’s Administrative Orders 174 and 174-1 shall not apply in this case.

Protective Order. The parties have conferred and entered into a protective order in this case.
Pursuant to agreement of the parties, if privileged or protected information is inadvertently
produced, the producing party may, by timely notice, assert the privilege or protection and obtain
the return of the materials without waiver.

Depositions. No depositions may be scheduled to occur after the applicable discovery or expert
deadlines. All discovery requests or other discovery-related filings that require a response must
be filed sufficiently in advance of the discovery deadline to enable the opposing party to respond
by the time permitted by the Rules prior to that date.

Meet and Confer Obligation. The parties are required to consult prior to filing any motion
(except motions filed pursuant to Fed. R. Civ. P. 12, 56, 59, and 60) in an effort to resolve the
matter before bringing the matter to the attention of the Court.

Responses to Motions. The opposing party must file a response to any opposed motion.
Pursuant to Local Rule 7.2(a)(2), a party’s failure to respond timely to any motion, other than

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one requesting dismissal of a claim or action, may be deemed good grounds for granting the
motion.

Consent to Magistrate. The parties do not consent to trial before the Magistrate Judge.

Amendment. This Order has been entered after consultation with the parties. Absent good
cause shown, the deadlines set by this order will not be modified or extended. The parties may
file a Motion to amend this Order for good cause at any time.

       DONE AND ORDERED this ___________ day of January 2019.

                                                           ______________________________
                                                           JUDGE JON PHIPPS McCALLA
SUBMITTED FOR ENTRY:

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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 17th day of January 2019, the foregoing was

electronically filed. Notice of this filing will be sent by operation of the court’s electronic filing

system to all parties indicated on the electronic filing receipt, including counsel listed below.

Parties may access this filing through the court’s electronic filing system.

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